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                       IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  JONESBORO DIVISION


Re:     Thomas T Norsworthy and                                            Case No. 3:19-bk-11116J
        Rebecca H Norsworthy, Debtors                                                     Chapter 7

                         APPLICATION TO EMPLOY AUCTIONEER

        Comes now Hamilton M. Mitchell, Trustee, and for his Application to Employ Auctioneer,

states and alleges as follows:

        1.      The Debtors commenced the bankruptcy case by filing a voluntary Chapter 7 petition

on February 28, 2019.

        2.      The Trustee is the Chapter 7 Trustee in the bankruptcy case.

        3.      The property of the estate includes, but is not limited to, certain realty and

improvements commonly known as 1402 E. Poplar Avenue, Wynne, Cross County, Arkansas (Tax

Parcel #900-04128-000).

        4.      The sale of the foregoing property would best be conducted by auction to provide the

highest benefit to the creditors of the estate.

        5.      Applicant believes it would be in the best interest of the estate to employ Brad

Wooley of Brad H. Wooley Auctioneers, Inc., an auctioneer duly bonded in the amount of

$50,000.00 to conduct the sale of said property upon the following terms and conditions:

                a.      Commission - ten percent (10%) buyer’s premium to
                        be paid by the successful bidder. Or, ten percent
                        (10%) of the gross sale proceeds; and

                b.      Actual and necessary expenses.

        6.      Assets in addition to the items listed above may be located by the Trustee. If so, the

Trustee requests authority for the auctioneer to sell the additional assets as well.

        WHEREFORE, the Chapter 7 Trustee prays that this Court enters an Order authorizing the
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employment of Brad Wooley of Brad H. Wooley Auctioneers, Inc., as auctioneers for the estate and

for all other appropriate relief which the estate may be entitled.

       DATE            April 23, 2019

                                              Respectfully Submitted,
                                              Hamilton M. Mitchell, Trustee

                                        By:   /s/ Hamilton Moses Mitchell, Attorney
                                              Hamilton Moses Mitchell, Attorney
                                              Rice & Associates, P.A.
                                              523 S. Louisiana, #300
                                              Little Rock, AR 72201
                                              501-374-1019
                                              office523b@comcast.net




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                                 CERTIFICATE OF NOTICE

        I, Hamilton Moses Mitchell, hereby certify that on today’s date, I electronically filed the
foregoing Application with the Clerk of the Bankruptcy Court using the CMF\ECF system, which
shall send notification of the filing to all parties that are entitled to receive notice in these
proceedings.

       DATE           April 23, 2019

                                             /s/ Hamilton Moses Mitchell, Attorney
                                             Hamilton Moses Mitchell, Attorney
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    JONESBORO DIVISION


Re:     Thomas T Norsworthy and                                                 Case No. 3:19-bk-11116J
        Rebecca H Norsworthy, Debtors                                                          Chapter 7

                               AFFIDAVIT OF DISINTERESTEDNESS

        I, Brad Wooley, after being solemnly sworn, states as follows:

       1.      That I am a duly licensed and insured auctioneer competent to conduct an auction as
proposed by the trustee in his/her Application to Employ Auctioneer.

         2.        That I am a disinterested person within the meaning of 11 U.S.C. §101 (14), not
employed by or connected with or representing any interest adverse to the Debtor, creditors, or any part
in interest, their respective attorneys and accountants, the United States Trustees, or any person employed
in the Office of the United States Trustees.

        3.       That I hereby certify that neither I nor any of my insiders will directly or indirectly bid
on or acquire any interest in the estate property to be sold. I further certify that I have made no
arrangements with the trustee or his attorney other than selling the items auctioned for the highest bid
prices except for any items upon which the trustee may have placed a reserved minimum price with
respect to any item or items offered for sale.

        4.       That I am properly bonded in the amount of $50,000.00, and that a copy of my bond is
on file with the United States Trustee's Office for the Eastern/Western Districts of Arkansas.

        The undersigned declares under penalty of perjury that the foregoing is true and correct.

        DATE            April 23, 2019

                                                    /s/   Brad Wooley, Auctioneer


STATE OF ARKANSAS )
                             )SS
COUNTY OF PULASKI )

        Subscribed and sworn to before me, a Notary Public, on today’s date.

                                                     /s/ Donna Poullos           April 23, 2019
                                                     NOTARY PUBLIC

My Commission Expires:             July 11, 2026
